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Entered: September 29, 2023
Signed: September 29, 2023

SO ORDERED




                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF MARYLAND
                                             at Baltimore
                              In re: Case No.: 22−14590 − DER             Chapter: 7
In Re: Debtor (names used by the debtor in the last 8 years, including married, maiden, trade, and address):

   Pivec Mechanical, LLC
   debtor has no known aliases
   100 Sparks Valley Road
   Suite D
   Sparks, MD 21152
   Social Security No.:
   Employer's Tax I.D. No.: 82−1880923


                                                FINAL DECREE

Petition for Relief under Chapter 7 of Title 11, U.S. Code was filed by or against the above−named debtor on 8/22/22.

The estate of the above−named debtor has been fully administered.

ORDERED, that Morgan W. Fisher is discharged as trustee of the estate of the above−named debtor; and the Chapter
7 case of the above named debtor is closed.



                                                    End of Order
fnldec − KizzyFraser
